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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

  UNITED STATES OF AMERICA                           §
                                                     §
                                                     §          CASE NO. 6:18-CR-55-JDK
  vs.                                                §
                                                     §
                                                     §
  DURRELL LEE HOPKINS (1).                           §
                                                     §

                ORDER ADOPTING REPORT AND RECOMMENDATION
                   ON REVOCATION OF SUPERVISED RELEASE

        The Court referred a petition alleging violations of supervised release conditions to United

States Magistrate Judge K. Nicole Mitchell at Tyler, Texas, for consideration pursuant to

applicable laws and orders of this Court. The Court has received and considered the Report of the

United States Magistrate Judge filed pursuant to such order, along with the record, pleadings, and

all available evidence.

        At the close of the October 13, 2020 revocation hearing, Defendant and defense counsel

signed a standard form waiving the right to object to the proposed findings and recommendations

contained in the United States Magistrate Judge’s Report, consenting to revocation of supervised

release and consenting to the imposition of the sentence recommended in the Report. Counsel for

the government orally waived the right to object to the Report. Defendant also waived his right to

be present and speak before the District Judge imposes the recommended sentence. Therefore, the

Court may act on the Report and Recommendation immediately.

        Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

and the Report of the Magistrate Judge is ADOPTED. It is therefore




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       ORDERED that Defendant’s plea of true to Allegation 1 in the petition is ACCEPTED.

Based upon Defendant’s plea of true to Allegation 1 in the petition, the Court finds that Defendant

violated the conditions of his supervised release. It is further

       ORDERED that Durrell Lee Hopkins’ supervised release is REVOKED. Judgment and

commitment will be entered separately, in accordance with the Magistrate Judge’s

recommendations. It is finally

       ORDERED that Defendant be committed to the custody of the Bureau of Prisons for a

term of imprisonment of 4 months with no further supervised release. The Court recommends

service of sentence at FCI Texarkana.

       So ORDERED and SIGNED this 16th day of October, 2020.



                                                  ___________________________________
                                                  JEREMY D. KERNODLE
                                                  UNITED STATES DISTRICT JUDGE




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